
In re Adams, Ronald W.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of St. Tammany, 22nd Judicial District Court Div. D, No. 346878; to the Court of Appeal, First Circuit, No. 2007 KW 1599.
Writ granted in part; otherwise denied. The St. Tammany District Attorney’s Office is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, section 3; R.S. 44:31; R.S. 44:31.1; State *737ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
